              Case 20-42984               Doc 1         Filed 06/10/20 Entered 06/10/20 15:11:50                           Main Document
                                                                     Pg 1 of 13
Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF MISSOURI

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Double G Brands, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2243 Rose Lane
                                  Pacific, MO 63069-1167
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Franklin                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Double G Brands, Inc.
                                                                          Pg 2 of 13   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4244

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                       $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                    operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                   balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                   any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                   accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                   Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                   (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                  When                          Case number
                                                  District                                  When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                 Relationship
                                                  District                                  When                         Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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                                                        Pg 3 of 13   Case number (if known)
         Name




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Debtor   Double G Brands, Inc.
                                                                     Pg 4 of 13   Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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Debtor    Double G Brands, Inc.
                                                                  Pg 5 of 13   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 10, 2020
                                                  MM / DD / YYYY


                             X   /s/ Glenda S. Hoerstkamp                                                Glenda S. Hoerstkamp
                                 Signature of authorized representative of debtor                        Printed name

                                 Title




18. Signature of attorney    X   /s/ Spencer P. Desai                                                     Date June 10, 2020
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Spencer P. Desai 39877
                                 Printed name

                                 Carmody MacDonald P.C.
                                 Firm name

                                 120 S. Central Ave., Suite 1800
                                 Saint Louis, MO 63105
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     314-854-8600                  Email address      spd@carmodymacdonald.com

                                 39877 MO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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 Fill in this information to identify the case:

 Debtor name         Double G Brands, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF MISSOURI

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 10, 2020                           X /s/ Glenda S. Hoerstkamp
                                                                       Signature of individual signing on behalf of debtor

                                                                       Glenda S. Hoerstkamp
                                                                       Printed name


                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                              Pg 7 of 13
 Fill in this information to identify the case:
 Debtor name Double G Brands, Inc.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF MISSOURI                                                                                 Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Clean the Uniform                                               trade debt                                                                                                 $2,829.55
 Company
 PO Box 840140
 Kansas City, MO
 64184-0140
 Commodity Plus                                                  trade debt                                                                                               $30,283.72
 2726 Mall Drive
 Eau Claire, WI 54701
 Cryovac, Inc.                                                   trade debt                                                                                               $18,472.00
 2313 SW Lower
 Lake Rd
 Saint Joseph, MO
 64504
 Donald Hoerstkamp                                               loan                                                                                                     $15,000.00
 15 Berry Bluff Ct.
 Ballwin, MO 63011
 Glenda Hoerstkamp                                               loan                   Unliquidated                                                                    $150,000.00
 15 Berry Bluff Ct.
 Ballwin, MO 63011
 Gunther Salt Co.                                                trade debt                                                                                                 $4,233.53
 101 Buchanan Ave
 Saint Louis, MO
 63147
 Harcros Chemicals,                                              trade debt                                                                                                 $6,947.28
 Inc.
 4330 Geraldine Ave
 Saint Louis, MO
 63115
 Hogan Truck                                                     truck lease claim                                                                                      $147,443.04
 Leasing, Inc.
 c/o Justin Ladendorf
 Lewis Rice LLC
 600 Washington
 Ave, Suite 2500
 KS 66310-1000




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Double G Brands, Inc.                                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 International Food                                              trade debt                                                                                                 $2,107.74
 Products Corp
 150 Larkin Williams
 Ind. Ct
 Fenton, MO 63026
 Northwood Foods                                                 trade debt                                                                                               $45,896.72
 Inc.
 1105 8th Street N
 Northwood, IA
 50459
 Progress Service                                                trade debt                                                                                                   $902.63
 Group, Inc.
 11124 South Towne
 Sq. #101
 Saint Louis, MO
 63123
 Schmidt Equipment                                               trade debt                                                                                                 $2,626.80
 & Supply
 8064 Chivvid Drive
 Saint Louis, MO
 63123
 Sure Good Foods                                                 trade debt                                                                                             $249,007.13
 Ltd.
 7000 Central
 Parkway #1100
 Atlanta, GA 30328
 Trinity Logistics                                               trade debt                                                                                                 $3,579.57
 345 Marshall Road
 ATTN: Jim Simon
 Saint Louis, MO
 63119
 UFCW Local 655                                                  unpaid sick pay                                                                                          $11,229.72
 300 Weidman Road                                                and accrued
 Ballwin, MO 63011                                               vacation pay
 United Food &                                                   Pension Plan           Unliquidated                                                                    $648,399.00
 Comm Pension                                                    withdrawal             Disputed
 Fund                                                            liability
 P.O. Box 6000
 Frankfort, IL 60423
 Viscofan                                                        trade debt                                                                                                 $2,264.60
 915 N. Michigan Ave
 Danville, IL 61834
 Weber Inc.                                                      trade debt                                                                                                 $1,271.95
 10701 N.
 Ambassador Dr.
 Kansas City, MO
 64153
 Witte Brothers                                                  trade debt                                                                                                 $3,434.87
 Exchange Inc.
 575 Witte Industrial
 Court
 Troy, MO 63379


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Double G Brands, Inc.                                                                              Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Wunderlich Fibre                                                trade debt                                                                                                 $8,199.89
 Box Co.
 821 Clinton St.
 Saint Louis, MO
 63102




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                        Bush Brothers, Inc.
                        1111 W. Eads Street
                        Urbana, IL 61801

                        Cintas Corporation
                        12400 Olive Blvd., Ste 555
                        Saint Louis, MO 63141

                        Clean the Uniform Company
                        PO Box 840140
                        Kansas City, MO 64184-0140

                        Commerce Bank
                        8000 Forsyth Blvd.
                        Saint Louis, MO 63105

                        Commodity Plus
                        2726 Mall Drive
                        Eau Claire, WI 54701

                        Cryovac, Inc.
                        2313 SW Lower Lake Rd
                        Saint Joseph, MO 64504

                        Donald Hoerstkamp
                        15 Berry Bluff Ct.
                        Ballwin, MO 63011

                        Ellen Kennedy
                        Dinsmore & Shohl
                        100 E. Main St. Suite 900
                        Lexington, KY 40507

                        Flavorseal
                        35179 Avon Commerce Pkwy
                        Avon, OH 44011

                        Garrett Paper, Inc.
                        3140 Park Ave.
                        Saint Louis, MO 63104

                        Glenda Hoerstkamp
                        15 Berry Bluff Ct.
                        Ballwin, MO 63011

                        Glenda Hoerstkamp
                        15 Berry Bluff Ct.
                        Ballwin, MO 63011

                        Grainger, Inc.
                        Dept 809435183
                        PO Box 419267
                        Kansas City, MO 64141-6267
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                    Gunther Salt Co.
                    101 Buchanan Ave
                    Saint Louis, MO 63147

                    Hantover, Inc.
                    P.O. Box 410646
                    Kansas City, MO 64141

                    Harcros Chemicals, Inc.
                    4330 Geraldine Ave
                    Saint Louis, MO 63115

                    Hogan Truck Leasing, Inc.
                    c/o Justin Ladendorf
                    Lewis Rice LLC
                    600 Washington Ave, Suite 2500
                    KS 66310-1000

                    Home City Ice
                    2120 Ice St.
                    Pacific, MO 63069

                    Internal Revenue Service
                    P.O. Box 66778
                    STOP5334STL
                    Saint Louis, MO 63166

                    International Food Products Corp
                    150 Larkin Williams Ind. Ct
                    Fenton, MO 63026

                    Kenneth Cripe
                    Richard T. Avis - Atty at Law
                    P.O. Box 31579
                    Chicago, IL 60631

                    Macson Meat Trading
                    1121 Warren Ave.
                    Downers Grove, IL 60515

                    Missouri Department of Revenue
                    Bankruptcy Unit
                    P.O. Box 475
                    301 West High Street
                    Jefferson City, MO 65105

                    Northwood Foods Inc.
                    1105 8th Street N
                    Northwood, IA 50459

                    Progress Service Group, Inc.
                    11124 South Towne Sq. #101
                    Saint Louis, MO 63123
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                    Rebecca Case
                    Stone Leyton & Gershman
                    7733 Forsyth
                    Suite 500
                    Saint Louis, MO 63105

                    Schmidt Equipment & Supply
                    8064 Chivvid Drive
                    Saint Louis, MO 63123

                    Sure Good Foods Ltd.
                    7000 Central Parkway #1100
                    Atlanta, GA 30328

                    Tipper Tie
                    2000 Lufkin Road
                    Apex, NC 27539

                    Trinity Logistics
                    345 Marshall Road
                    ATTN: Jim Simon
                    Saint Louis, MO 63119

                    UFCW Local 655
                    300 Weidman Road
                    Ballwin, MO 63011

                    United Food & Comm Pension Fund
                    P.O. Box 6000
                    Frankfort, IL 60423

                    Viscofan
                    915 N. Michigan Ave
                    Danville, IL 61834

                    Weber Inc.
                    10701 N. Ambassador Dr.
                    Kansas City, MO 64153

                    Witte Brothers Exchange Inc.
                    575 Witte Industrial Court
                    Troy, MO 63379

                    Wunderlich Fibre Box Co.
                    821 Clinton St.
                    Saint Louis, MO 63102
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                                                               United States Bankruptcy Court
                                                                     Eastern District of Missouri
 In re      Double G Brands, Inc.                                                                        Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Double G Brands, Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 June 10, 2020                                                       /s/ Spencer P. Desai
 Date                                                                Spencer P. Desai 39877
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Double G Brands, Inc.
                                                                     Carmody MacDonald P.C.
                                                                     120 S. Central Ave., Suite 1800
                                                                     Saint Louis, MO 63105
                                                                     314-854-8600 Fax:314-854-8660
                                                                     spd@carmodymacdonald.com




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